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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                                CASE NO.:

  WINDY LUCIUS,

         Plaintiff,

  v.

  MICHAELS STORES, INC.,

        Defendant.
  __________________________________/

                           COMPLAINT FOR INJUNCTIVE RELIEF

         Windy Lucius, (“Plaintiff”) by and through her undersigned counsel, hereby files this

  complaint and sues Defendant, MICHAELS STORES, INC., a foreign for-profit corporation doing

  business in Florida and alleges as follows:

                                           INTRODUCTION

         1.      Plaintiff Windy Lucius brings this action individually against MICHAELS

  STORES, INC., (“Defendant”), alleging violations of Title III of the Americans with Disabilities

  Act, 42 U.S.C. § 12101 et seq., (hereinafter, “ADA”).

         2.      Plaintiff is blind. She has been blind for the past nine years. She uses the internet

  to help her navigate a world of goods, products and services like the sighted. The internet, websites

  and mobile applications provide her a window into the world that she would not otherwise have.

  She brings this action against Defendant for offering and maintaining a mobile application

  (software that is intended to run on mobile devises such as phones or tablet computers) that is not

  fully accessible and independently usable by visually impaired consumers. The mobile application

  (“app”) at issue is available through the Apple “app store” for download and installation on Apple
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  devices. (hereinafter, “app”). Defendant developed the app and made it available to millions of

  phone and tablet users in the Apple app store.

         3.      Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their websites are in compliance with the ADA.

         4.      Defendant offers its app to the general public from which it sells a variety of

  products ranging from crafts and picture frames to homeware. Defendant’s apps allow mobile

  device users to shop on a mobile platforms through a connection to Wi-Fi or cellular data so that

  users can watch DIY videos, make purchases, locate stores, and explore product offerings on the

  go. As such, it has subjected itself to the ADA because Defendant’s app is offered as a tool to

  promote, advertise and sell its products from its brick and mortar stores, which are places of public

  accommodation. As a result, the app must interact with Defendant’s stores and the public, and in

  doing so must comply with the ADA, which means it must not discriminate against individuals

  with disabilities and may not deny full and equal enjoyment of the goods and services afforded to

  the general public.

         5.      Blind and visually impaired consumers must use the assistive technology on the

  iPhone to access app content. The app must be designed and programmed to work with the assistive

  technology available on the iPhone. Defendant’s app, however, contains digital barriers which

  limit the ability of blind and visually impaired consumers to access it, even with Apple’s assistive

  technology.

         6.      Defendant’s app does not properly interact with Apple’s assistive technology in a

  manner that will allow the blind and visually impaired to enjoy the app, nor does it provide other

  means to accommodate the blind and visually impaired.




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          7.      Plaintiff has downloaded and attempted to patronize Defendant’s app in the past

  and intends to continue to make further attempts to patronize Defendant’s app. Like the seeing

  community, she would like to be able to pre-shop Defendant’s merchandise and learn about sales

  or discounts before going to Defendant’s brick and mortar location. However, unless Defendant is

  required to eliminate the access barriers at issue and required to change its policies so that access

  barriers do not reoccur on Defendant’s app, Plaintiff will continue to be denied full and equal

  access to the app as described and will be deterred from fully using Defendant’s app or shopping

  at the physical locations.

          8.      Plaintiff continues to attempt to utilize the app and/or plans to continue to attempt

  to utilize the app in the near future. In the alternative, Plaintiff intends to monitor the app in the

  near future, as a tester, to ascertain whether it has been updated to interact properly with screen

  reader software.

          9.      Plaintiff is continuously aware of the violations on Defendant’s app and is aware

  that it would be a futile gesture to attempt to utilize the app as long as those violations exist unless

  she is willing to suffer additional discrimination.

          10.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

  result of the discriminatory conditions present at Defendant’s app. By continuing to operate its app

  with discriminatory conditions, Defendant contributes to Plaintiff’s sense of isolation and

  segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

  privileges and/or accommodations available to the general public. By encountering the

  discriminatory conditions at Defendant’s app, and knowing that it would be a futile gesture to

  attempt to utilize the app unless she is willing to endure additional discrimination, Plaintiff is

  deprived of the meaningful choice of freely visiting and utilizing the same accommodations readily




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  available to the general public and is deterred and discouraged from doing so. By maintaining an

  app with violations, Defendant deprives Plaintiff the equality of opportunity offered to the general

  public.

            11.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of the Defendant’s discrimination until the Defendant is compelled to comply with the

  requirements of the ADA.

            12.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from the Defendant’s non-compliance with the ADA with respect to this app as described above.

  Plaintiff has reasonable grounds to believe that she will continue to be subjected to discrimination

  in violation of the ADA by the Defendant. Plaintiff desires to access the app to avail herself of the

  benefits, advantages, goods and services therein, and/or to assure herself that this app is in

  compliance with the ADA so that she and others similarly situated will have full and equal

  enjoyment of the app without fear of discrimination.

            13.   The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks in

  this action. The ADA provides, in part:

                  [i]n the case of violations of . . . this title, injunctive relief shall include an
                  order to alter facilities to make such facilities readily accessible to and
                  usable by individuals with disabilities . . . Where appropriate, injunctive
                  relief shall also include requiring the . . . modification of a policy . . .

  42 U.S.C. § 12188(a)(2).

            14.      Therefore, Plaintiff seeks a declaration that Defendant’s app violates federal law

  as described and an injunction requiring Defendant to modify its app so that it is fully accessible

  to, and independently usable by, blind or visually impaired individuals. Plaintiff further requests

  that the Court retain jurisdiction of this matter for a period to be determined to ensure that

  Defendant comes into compliance with the requirements of the ADA and to ensure that Defendant



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  has adopted and is following an institutional policy that will, in fact, cause Defendant’s app to

  remain in compliance with the law.

                                    JURISDICTION AND VENUE

          15.     This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42

  U.S.C. § 12188.

          16.     Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

  substantial business in this judicial district where it has multiple physical locations.

          17.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2) in that

  this is the judicial district in which Defendant resides, and in which a substantial part of the acts

  and omissions giving rise to the claims occurred.

          18.     This Court has personal jurisdiction over MICHAELS STORES, INC., pursuant to,

  inter alia, Florida’s long arm statute F.S. § 48.193, in that Defendant: (a) operates, conducts,

  engages in, and/or carries on a business or business ventures (s) in Florida and/or has an office or

  agency in Florida; (b) has committed one or more tortious acts within Florida; (c) was and/or is

  engaged in substantial and not isolated activity within Florida; and/or (d) has purposely availed

  itself of Florida’s laws, services and/or benefits and therefore should reasonably anticipate being

  hailed into one or more of the courts within the State of Florida.

                                                PARTIES

          19.     Plaintiff, Windy Lucius, is and, at all times relevant hereto, was a resident of the

  State of Florida. Plaintiff is and, at all times relevant hereto, has been legally blind and is therefore

  a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

  implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

          20.     Defendant MICHAELS STORES, INC., owns, operates and maintains multiple




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  stores called MICHAELS, within the Southern District of Florida, either through franchisees,

  affiliates, partners or other entities. Defendant’s store sells crafts, homeware, and other goods to

  the public. Defendant also offers those items to the public through its app. Defendant’s store and

  accompanying app work collectively and are public accommodations pursuant to 42 U.S.C. §

  12181(7)(E).

                                               FACTS

         21.     Defendant owns, operates and controls an app from which it sells crafts, homeware,

  and other goods. They sell those same goods from their corresponding brick and mortar stores.

  Defendant’s app also helps users locate stores, view pricing and specials, shop, and a variety of

  other functions.

         22.     Defendant’s app is a nexus to a place of public accommodation pursuant to 42

  U.S.C. § 12181(7)(E). Therefore, under the ADA, Defendant must ensure that individuals with

  disabilities have access to full and equal enjoyment of the goods and services offered on its app.

         23.     Blind and visually impaired individuals may access apps by using accessibility

  features in conjunction with screen reader software that converts text to audio. Screen reader

  software provides the primary method by which a visually impaired person may independently use

  the internet. Unless the app is designed to be accessed with screen reader software, visually

  impaired individuals are unable to fully access app and the information, products, and services

  available through the app.

         24.     The international app standards organization, W3C, has published WCAG 2.1 A

  and WCAG 2.1 AA (Version 2.0 of the Web Content Accessibility Guidelines). WCAG 2.1 A and

  WCAG 2.1 AA provide widely accepted guidelines for making apps accessible to individuals with

  disabilities and compatible with screen reader software. These guidelines have been endorsed by




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  the United States Department of Justice and numerous U.S. District Courts.

         25.     Plaintiff is legally blind and uses VoiceOver screen reader software (hereinafter,

  “Plaintiff’s software”) in order to access app content. Plaintiff’s software is the most popular screen

  reader software utilized worldwide by visually impaired individuals for Apple tablets and phones.

         26.     Despite several attempts, Defendant’s app did not integrate with Plaintiff’s

  software, nor was there any function within the app to permit access for visually impaired

  individuals through other means. Her shopping attempts were rendered futile because the app was

  inaccessible. Therefore, Plaintiff was denied the full use and enjoyment of the goods and services

  available on Defendant’s app as a result of access barriers on the app. For example, rotating sale

  banner is not accessible to VoiceOver users. Coupon icon is not labeled which will prevent some

  VoiceOver users from finding this section.

         27.     Defendant’s app does not meet the WCAG 2.1 A level of accessibility. As to

  WCAAG guideline 2.1.1 – Keyboard, the app must be accessible by keyboard only (no mouse or

  other pointing device should be required). Here, the search input field and the buttons associated

  with it are excluded from navigation. As to WCAG guideline 4.1.2 – Name, Role, Value, all

  elements should be built for accessibility. Here, the coupons icon is only announced as "button."

         28.     Defendant’s app does not meet the WCAG 2.1 AA level of accessibility. As to

  WCAG guideline 1.4.5 – Images of Text, the website should not use images of text because screen

  readers are unable to read these. Here, the sale information provided in the rotating banner at the

  top is not accessible for VoiceOver users. As to WCAG guideline 2.4.6 – Headings and Labels,

  headings and labels should be clear. Here, labels for some elements do not make sense. The back

  button, for instance, is announced as "Cap L, button."

         29.     By failing to adequately design and program its app to accurately and sufficiently



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  integrate with VoiceOver, Defendant has discriminated against Plaintiff and others with visual

  impairments on the basis of a disability by denying them full and equal enjoyment of the app, in

  violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.

          30.    As a result of Defendant’s discrimination, Plaintiff was unable to use Defendant’s

  app and suffered an injury in fact including loss of dignity, mental anguish and other tangible

  injuries.

          31.    The barriers on the app have caused a denial of Plaintiff’s full and equal access

  multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s app.

          32.    If Defendant’s app were accessible, Plaintiff could independently research, review

  and purchase homeware, goods, and other crafts from Defendant’s stores online, as well as utilize

  the other functions on the app.

          33.    Plaintiff believes that although Defendant may have centralized policies regarding

  the maintenance and operation of its app, Defendant has never had a plan or policy that is

  reasonable calculated to make its app fully accessible to, and independently usable by, people with

  visual impairments.

          34.    Without injunctive relief, Plaintiff and other visually impaired individuals will

  continue to be unable to independently use Defendant’s app in violation of their rights under the

  ADA.

                                    SUBSTANTIVE VIOLATION

                          (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

          35.    The allegations contained in the previous paragraphs are incorporated by reference.

          36.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No

  individual shall be discriminated against on the basis of a disability in the full and equal enjoyment



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  the goods, facilities, privileges, advantages or accommodations of any place of public

  accommodation by any person who owns, leases (or leases to), or operates a place of public

  accommodation.” 42 U.S.C. § 12182(a).

         37.     Defendant’s stores and accompanying app are public accommodations within the

  definition of Title III of the ADA, 42 U.S.C. § 12181(7)(E).

         38.     Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to

  deny individuals with disabilities the opportunity to participate in or benefit from the goods,

  services, facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §

  12182(b)(1)(A)(i).

         39.     Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to

  deny individuals with disabilities the opportunity to participate in or benefit from the goods,

  services, facilities, privileges, advantages or accommodations, which is equal to the opportunities

  afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

         40.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

  includes, among other things:

                 a failure to make reasonable modifications in policies, practices or
                 procedures, when such modifications are necessary to afford such goods,
                 services, facilities, privileges, advantages or accommodations to individuals
                 with disabilities, unless the entity can demonstrate that making such
                 modifications would fundamentally alter the nature of such goods, services,
                 facilities, privileges, advantages or accommodations; and a failure to take
                 such steps as may be necessary to ensure that no individual with a disability
                 is excluded, denied services, segregated or otherwise treated differently
                 than other individuals because of the absence of auxiliary aids and services,
                 unless the entity can demonstrate that taking such steps would
                 fundamentally alter the nature of good, service, facility, privilege,
                 advantage or accommodation being offered or would result in an undue
                 burden.

  42 U.S.C. § 12182(b)(2)(A)(ii) (iii); see also 28 C.F.R. § 36.303(a).



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          41.     Title III requires that “[a] public accommodation shall furnish appropriate auxiliary

   aids and services where necessary to ensure effective communication with individuals with

   disabilities.” 28 C.F.R. § 36.303(c)(1). The regulations set forth numerous examples of “auxiliary

   aids and services,” including “…accessible electronic and information technology; or other

   effective methods of making visually delivered materials available to individuals who are blind or

   have low vision.” 28 C.F.R. § 36.303(b).

          42.     The acts alleged herein constitute violations of Title III of the ADA, and the

   regulations promulgated thereunder. Plaintiff, who is legally blind and has a disability that

   substantially limits the major life activity of seeing within the meaning of 42 U.S.C. §§

   12102(1)(A) and (2)(A), has been denied full and equal access to Defendant’s app. Plaintiff has

   not been afforded the goods, services, privileges and advantages that are provided to other patrons

   who are not disabled, and/or has been provided goods, services, privileges and advantages that are

   inferior to those provided to non-disabled persons. These violations are ongoing as Defendant has

   failed to make any prompt and equitable changes to its app and policies in order to remedy its

   discriminatory conduct.

          43.     Pursuant to 42 U.S.C. 12188 and the remedies, procedures and rights set forth and

   incorporated therein, Plaintiff, on behalf of herself and on behalf of others similarly situated

   requests relief as set forth below.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of herself and others similarly situated prays for:

          a.      A Declaratory Judgment that at the commencement of this action Defendant was
                  in violation of the specific requirements of Title III of the ADA described above,
                  and the relevant implementing regulations of the ADA, in that Defendant took no
                  action that was reasonably calculated to ensure that its app is fully accessible to,
                  and independently usable by, blind individuals;



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          b.     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504
                 (a) which directs Defendant to take all steps necessary to brings its app into full
                 compliance with the requirements set forth in the ADA, and its implementing
                 regulations, so that its app is fully accessible to, and independently usable by, blind
                 individuals, and which further directs that the Court shall retain jurisdiction for a
                 period to be determined to ensure that Defendant has adopted and is following an
                 institutional policy that will in fact cause Defendant to remain fully in compliance
                 with the law;

          c.     Payment of costs of suit;

          d.     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR
                 § 36.505; and,

          e.     The provision of whatever other relief the Court deems just, equitable and
                 appropriate.

   Dated: February 3, 2020


                                                Respectfully submitted,

                                                /s/ J. Courtney Cunningham
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